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                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION


DONALD A. EDWARDS,                     )               Civil Action No.: 2:10cv1588-CWH-RSC
                                       )
                   Plaintiff,          )                         COMPLAINT
                                       )                Violation of ADEA - Discrimination
vs.                                    )                Based Upon Age; Breach of Contract;
                                       )               Promissory Estoppel; Breach of Contract
HERITAGE TRUST FEDERAL                 )                 Accompanied by a Fraudulent Act
CREDIT UNION,                          )
                                       )
                   Defendant.          )                    JURY TRIAL DEMANDED
_______________________________________)


               The plaintiff, complaining of the acts of the defendant, alleges as follows:

                                 PARTIES AND JURISDICTION

                1. That plaintiff is a resident and citizen of the County of Berkeley, State of

South Carolina.

                2. That, upon information and belief, the defendant Heritage Trust Federal

Credit Union is a financial institution existing under the laws of the State of South Carolina with

headquarters in the County of Charleston, State of South Carolina.

                3. That this court has federal question jurisdiction pursuant to 29 U.S.C. § 623,

et. seq. (the Age Discrimination in Employment Act (“ADEA”)) and 28 U.S.C. § 1331.

                4. That venue for all causes of action stated herein lies in the district of South

Carolina, Charleston Division, in that pursuant to 28 U.S.C. § 1391(b), the defendant resides in

this district, and a substantial part of the events giving rise to plaintiff's claims occurred here.

                                   CONDITIONS PRECEDENT

                5. That plaintiff has exhausted all administrative remedies and conditions

precedent, including timeliness, deferral and all other jurisdictional requirements necessary for



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the maintenance of the foregoing action, all of which are more fully described below. That

moreover, defendant employed over twenty (20) employees at all times referred to herein and,

thus, is an employer as defined by the ADEA and otherwise subject to and covered by said Act.

               6. That on or about June 18, 2009, and as a result of defendant’s discriminatory

conduct, all of which is more fully described below, plaintiff filed a complaint with the Equal

Employment Opportunity Commission ("EEOC") alleging discrimination based upon age and

constructive discharge.

               7. That on or about May 5, 2010, plaintiff received a notice of right to sue from

the EEOC regarding the complaint described in Paragraph 6 above.

               8. That plaintiff has timely filed the foregoing action within ninety (90) days of

the date on which he received the notice of right to sue described above in Paragraph 7.

                                   FACTUAL ALLEGATIONS

               9. That plaintiff repeats and realleges each and every allegation contained in

Paragraphs 1 through 8 hereinabove as fully as if set forth verbatim.

               10. That plaintiff is sixty (60) years old. His date of birth is July 2, 1949.

               11. That defendant hired plaintiff on or about January 9, 2006 as a loan

originator.

               12. That plaintiff was hired by a manager at defendant named Sarah Strickland

(“Strickland”) who also served as plaintiff’s direct supervisor.

               13. That in or around the end of February/beginning of March 2007, Strickland

was replaced by Kim Daniels (“Daniels”).              Thereafter, Daniels became plaintiff’s direct

supervisor.

               14. That when plaintiff started his employment with defendant he was the sole

loan originator.


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                 15. That by March of 2008, defendant had hired two other loan originators, both

of whom were substantially younger than plaintiff and substantially less qualified and

experienced than plaintiff.

                 16. That plaintiff performed his job duties at defendant in an above-satisfactory

fashion and otherwise maintained an excellent employment record there.

                 17. That in this regard, plaintiff was never disciplined in any manner while

employed with defendant; he was never suspended, written up or given a verbal warning.

                 18. That moreover, plaintiff was given three performance evaluations at

defendant. On all evaluations defendant rated plaintiff as “meets expectations” and he was

given a raise.     The last such evaluation was given to plaintiff in early January 2009,

approximately one month before plaintiff was terminated.

                 19. That finally, plaintiff was the leading loan producer every year among the

three loan originators at defendant.

                 20. That despite the above, plaintiff’s supervisor, Daniels, made repeated

remarks to plaintiff about his age, telling him he needed a hearing aid and that maybe loan

processors were uncomfortable asking plaintiff questions because of his age. Moreover, Daniels

made fun of plaintiff’s age to other employees.

                 21. That also at times during plaintiff’s employment, defendant’s Senior Vice-

President of Lending and Operations, Steve Wichmann (“Wichmann”), would comment to

plaintiff that plaintiff had been around for awhile; that he (Wichmann) would be retiring soon;

and that plaintiff may be ready to retire, too.

                 22. That on or about February 6, 2009, Daniels and Wichmann fired plaintiff

without warning, notice or cause.




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               23. That in firing plaintiff, Daniels and Wichmann told plaintiff he was being

fired due to two (2) customer complaints and HUMDA violations.

               24. That these reasons are blatantly false.

               25. That defendant fired plaintiff because of his age.

               26. That also during the termination, Wichmann threatened plaintiff that if he

did not resign that defendant (by and through Wichmann and Daniels) would make sure that

plaintiff never worked in the financial industry again.

                        FOR A FIRST CAUSE OF ACTION:
                             VIOLATION OF ADEA
            DISCRIMINATION/TERMINATION/CONSTRUCTIVE DISCHARGE

               27. That plaintiff repeats and realleges each and every allegation contained in

Paragraphs 1 through 26 hereinabove as fully as if set forth verbatim.

               28. That defendant is a “person” within the meaning of § 701 Title VII of the

Civil Rights Act of 1964, 42 U.S.C. § 2000e and the ADEA of 1967, as amended, 29 U.S.C. § 630.

               29. That defendant is in an industry that affects commerce within the meaning

of the Civil Rights Act of 1964, 42 U.S.C. § 2000e and the ADEA of 1967, as amended, 29 U.S.C. §

630.

               30. That defendant employed over twenty (20) employees at all times referred to

herein and, thus, defendant is an employer as defined by the ADEA and otherwise subject to

that Act.

               31. That plaintiff’s date of birth is July 2, 1949.

               32. That at the time of plaintiff’s termination and at all times prior thereto,

plaintiff was performing his job at defendant in a manner that met defendant’s reasonable and

legitimate expectations.




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                33. That defendant fired plaintiff without warning, notice or cause and for false

reasons, all on account of plaintiff’s age.

                34. That defendant also threatened plaintiff and forced him to resign after firing

plaintiff.

                35. That defendant intentionally forced plaintiff to resign from defendant and

said efforts were motivated by age bias.

                36. That plaintiff found, and a reasonable employee in plaintiff’s circumstances

would find, that the working conditions at defendant were objectively intolerable.

                37. That as such, defendant constructively discharged plaintiff.

                38. That defendant replaced plaintiff with a substantially younger employee.

                39. That as such, defendant has violated the ADEA.

                40. That as a result of the actions of the defendant, plaintiff has suffered

damages in the form of lost back and future wages, income and benefits, expenses associated

with finding other work, and further seeks damages in the form of attorney’s fees and costs and

prejudgment interest.

                41. That defendant’s actions were undertaken intentionally, willfully, wantonly,

knowingly and with reckless indifference to plaintiff’s federally protected rights and, therefore,

plaintiff is entitled to recover liquidated damages from the defendant.

                             FOR A SECOND CAUSE OF ACTION:
                                  BREACH OF CONTRACT

                42. That plaintiff repeats and realleges each and every allegation contained in

Paragraphs 1 through 41 hereinabove as fully as if set forth verbatim.

                43. That defendant issued handbooks, manuals, forms and policies and

procedures to plaintiff which required defendant to provide employees with corrective action




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including verbal and written warnings as well as probations before termination for all but the

most serious offenses.

               44. That said policies and procedures also required defendant to have good

cause to terminate an employee.

               45. That said policies and procedures were set forth in strong and mandatory

terms and, therefore, they constituted a contract of employment which altered any at-will

employment relationship that may have existed between the parties. As such, defendant was

legally required to follow said contract in disciplining and discharging its employees.

               46. That defendant breached the said contract of employment by firing plaintiff

without cause, without prior warning and without otherwise going through the steps of its

progressive discipline policies, as plaintiff never committed any serious or non-serious

workplace infractions.

               47. That as a direct and proximate result of said breaches, plaintiff has been

damaged in the form of lost back and future wages, income and benefits, expenses associated

with finding other work, prejudgment interest, and the costs associated with bringing this

action.

                             FOR A THIRD CAUSE OF ACTION:
                                 PROMISSORY ESTOPPEL

               48. That plaintiff repeats and realleges each and every allegation contained in

Paragraphs 1 through 47 hereinabove as fully as if set forth verbatim.

               49. That, as set forth above in Paragraphs 43 and 44, defendant made clear and

unambiguous promises to plaintiff regarding the ways in which plaintiff would be disciplined

and discharged at defendant.




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                50. That plaintiff reasonably relied upon said promises and had the right to so

rely upon them.

                51. That as set forth above, defendant breached the said promises outlined

above by firing plaintiff without cause, without prior warning and without first utilizing

progressive discipline.

                52. That plaintiff sustained injuries in reliance on the said promises, namely lost

back and future wages, income and benefits, expenses associated with finding other work,

prejudgment interest and the costs of this action.

                             FOR A FOURTH CAUSE OF ACTION:
                                  BREACH OF CONTRACT
                           ACCOMPANIED BY A FRAUDULENT ACT

                53. That plaintiff repeats and realleges each and every allegation contained in

Paragraphs 1 through 52 hereinabove as fully as if set forth verbatim.

                54. That as alleged above, the parties entered into an employment agreement

which altered any at-will relationship that may have existed between the parties and which was

breached by defendant.

                55. That defendant breached the parties’ agreement with fraudulent intent,

namely because of plaintiff’s age.

                56. That in breaching the said agreement, defendant engaged in fraudulent acts,

namely it fired plaintiff for false reasons and attempted to force plaintiff to resign by

threatening plaintiff that it would ensure plaintiff would never work in the financial industry

again if plaintiff did not resign.

                57. That as a result of the above, plaintiff has suffered damages in the form of

lost back and future wages, income and benefits, expenses associated with finding other work,

and has suffered psychological harm, emotional distress, anxiety, pain and suffering,



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inconvenience, mental anguish, loss of enjoyment of life, embarrassment, humiliation, physical

and personal injuries, loss to professional standing, character and reputation, and plaintiff

further seeks the costs of this action and prejudgment interest.

               58. That defendant’s conduct as set forth above was undertaken intentionally,

willfully, wantonly, recklessly, maliciously and with utter disregard for the protected rights of

the plaintiff and, therefore, plaintiff is entitled to recover punitive damages from the defendant.

               WHEREFORE, plaintiff prays for the following relief against defendant:

               (a) As to plaintiff’s First Cause of Action, plaintiff prays for judgment against

the defendant for such an amount of actual and special damages as the trier of fact may find

(including damages for lost back and future wages, income and benefits, as well as expenses

associated with finding other work), liquidated damages, the costs and disbursements of this

action, including reasonable attorney’s fees, prejudgment interest, and for such other and

further relief as the court deems just and proper;

               (b) As to plaintiff’s Second and Third Causes of Action, plaintiff prays for

judgment against the defendant for such an amount of actual and special damages as the trier of

fact may find (including damages for lost back and future wages, income and benefits, as well

as expenses associated with finding other work), the costs and disbursements of this action,

prejudgment interest, and for such other and further relief as the court deems just and proper;

               (c) As to plaintiff’s Fourth Cause of Action, plaintiff prays for judgment against

the defendant for such an amount of actual and special damages as the trier of fact may find

(including damages for lost back and future wages, income and benefits, expenses associated

with finding other work, psychological harm, emotional distress, anxiety, pain and suffering,

inconvenience, mental anguish, loss of enjoyment of life, embarrassment, humiliation, physical

and personal injuries, loss to professional standing, character and reputation), punitive


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damages, the costs and disbursements of this action, prejudgment interest, and for such other

and further relief as the court deems just and proper.



                                                    HITCHCOCK & POTTS

                                                    By: s/A. Christopher Potts
                                                    Federal ID No.: 5517
                                                    31 Broad Street (P.O. Box 1113)
                                                    Charleston, SC 29401 (29402)
                                                    Telephone: (843) 577-5000
                                                    Fax: (843) 722-8512
                                                    E-Mail: hitchp@bellsouth.net
                                                    Attorneys for the Plaintiff

Charleston, South Carolina
June 21, 2010




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